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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                   CASE:

  CARLOS BRITO,

              Plaintiff,
  v.

  1540 WEST 84TH STREET LLC, BESTCORP
  INVESTMENTS, L.L.C. and ORLY SERVICES,
  INC.,

          Defendant.
  ______________________________________/

                                               COMPLAINT

  Plaintiff, CARLOS BRITO, individually and on behalf of all other similarly situated mobility-

  impaired individuals (hereinafter “Plaintiff”), sues 1540 WEST 84TH STREET LLC,

  BESTCORP INVESTMENTS, L.L.C., and ORLY SERVICES, INC. (hereinafter “Defendants”),

  and as grounds alleges:

                                JURISDICTION, PARTIES. AND VENUE

         1.          This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.           The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

  2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.
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         4.        Plaintiff, CARLOS BRITO, is an individual over eighteen years of age, who has

  a residence in Miami-Dade County, Florida, and is otherwise sui juris.

         5.        At all times material, Defendants, 1540 WEST 84TH STREET LLC and

  BESTCORP INVESTMENTS, L.L.C., owned and operated a place of public accommodation at

  1540 W 84th Street, Hialeah, Florida, (hereinafter the “Commercial Property”) and conducted a

  substantial amount of business in that place of public accommodation in Miami-Dade, Florida.

         6.        At all times material, Defendant, 1540 WEST 84TH STREET LLC, was and is a

  Florida Limited Liability Company, with its principal address in Hialeah, Florida.

         7.        At all times material, Defendant, BESTCORP INVESTMENTS, L.L.C., was and

  is a Florida Limited Liability Company, with its principal address in Hialeah, Florida.

         8.        At all times material, Defendant, ORLY SERVICES, INC., owned and operated

  a gas station and a place of public accommodation at 1540 W 84th Street, Hialeah, Florida,

  (hereinafter the “Commercial Property”) and conducted a substantial amount of business in that

  place of public accommodation in Miami-Dade, Florida.

         9.        At all times material, Defendant, ORLY SERVICES, INC., was and is a Florida

  Profit Corporation, with its principal address in Hialeah, Florida.

         10.       Venue is properly located in the Southern District of Florida because Defendants’

  Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                     FACTUAL ALLEGATIONS

         11.       Although over twenty-seven (27) years have passed since the effective date of
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  Title III of the ADA, Defendants have yet to make its facilities accessible to individuals with

  disabilities.

          12.       Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

  extensive publicity the ADA has received since 1990, Defendants continue to discriminate against

  people who are disabled in ways that block them from access and use of Defendants’ businesses

  and properties.

          13.       The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance

          14.        Plaintiff, CARLOS BRITO, is an individual with disabilities as defined by and

  pursuant to the ADA. Plaintiff, CARLOS BRITO, is, among other things, a paraplegic (paralyzed

  from his T-6 vertebrae down) and is therefore substantially limited in major life activities due to

  his impairment, including, but not limited to, not being able to walk or stand. Plaintiff requires the

  use of a wheelchair to ambulate.

          15.        Defendants,     1540   WEST        84TH   STREET       LLC     and   BESTCORP

  INVESTMENTS, L.L.C., own, operate and oversee the Commercial Property, its general parking

  lot and parking spots. Defendant ORLY SERVICES, INC. operates the gas station business located

  within the Commercial Property.

          16.       The subject Commercial Property is open to the public and is located in Hialeah,

  Miami-Dade County, Florida.

          17.       The individual Plaintiff visits the Commercial Property and businesses located

  within the Commercial Property, regularly, to include a visit to the Commercial Property and
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  businesses located within the Commercial Property on or about April 16, 2019, and encountered

  multiple violations of the ADA that directly affected his ability to use and enjoy the Commercial

  Property and businesses located located therein. He often visits the Commercial Property and

  businesses located within the Commercial Property in order to avail himself of the goods and

  services offered there, and because it is approximately twenty (20) miles from his residence, and

  is near his friends’ residences as well as other businesses and restaurants he frequents as a patron.

  He plans to return to the Commercial Property and the businesses located within the Commercial

  Property within thirty (30) days of the filing of this Complaint.

         18.       Plaintiff resides nearby in the same County and state as the Commercial Property

  and the businesses located within the Commercial Property, has regularly frequented the

  Defendants’ Commercial Property and the businesses located within the Commercial Property for

  the intended purposes because of the proximity to his and his friends’ residences and other

  businesses that he frequents as a patron, and intends to return to the Commercial Property and

  businesses located within the Commercial Property within thirty (30) days from the filing of this

  Complaint.

         19.       The Plaintiff found the Commercial Property, and the businesses located within

  the Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and businesses located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.

         20.       The Plaintiff has encountered architectural barriers that are in violation of the

  ADA at the subject Commercial Property, and businesses located within the Commercial Property.

  The barriers to access at Defendants’ Commercial Property, and the businesses located within the
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  Commercial Property have each denied or diminished Plaintiff’s ability to visit the Commercial

  Property, and businesses located within the Commercial Property, and have endangered his safety

  in violation of the ADA. The barriers to access, which are set forth below, have likewise posed a

  risk of injury(ies), embarrassment, and discomfort to Plaintiff, CARLOS BRITO, and others

  similarly situated.

         21.       Defendants,    1540    WEST         84TH   STREET      LLC     and    BESTCORP

  INVESTMENTS, L.L.C., owns and operates a place of public accommodation as defined by the

  ADA and the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104. ORLY

  SERVICES, INC. owns and operates the gas station business within the Commercial Property.

  Defendants, 1540 WEST 84TH STREET LLC, BESTCORP INVESTMENTS, L.L.C. and ORLY

  SERVICES, INC. are responsible for complying with the obligations of the ADA. The place of

  public accommodation that Defendants, 1540 WEST 84TH STREET LLC, BESTCORP

  INVESTMENTS, L.L.C., and ORLY SERVICES, INC. own and operate the Commercial Property

  and Business located 1540 W 84th Street, Hialeah, Florida,

         22.       Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and the businesses located within the Commercial Property,

  including but not necessarily limited to the allegations in Count I of this Complaint. Plaintiff has

  reasonable grounds to believe that he will continue to be subjected to discrimination at the

  Commercial Property, and businesses located within the Commercial Property, in violation of the

  ADA. Plaintiff desires to visit the Commercial Property and businesses located therein, not only

  to avail himself of the goods and services available at the Commercial Property, and businesses
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  located within the Commercial Property, but to assure himself that the Commercial Property and

  businesses located within the Commercial Property are in compliance with the ADA, so that he

  and others similarly situated will have full and equal enjoyment of the Commercial Property, and

  businesses located within the Commercial Property without fear of discrimination.


         23.       Defendants,    1540     WEST     84TH     STREET      LLC     and    BESTCORP

  INVESTMENTS, L.L.C., as landlord and owner of the Commercial Property Business, is

  responsible for all ADA violations listed in Count I of this Complaint. Defendant ORLY

  SERVICES, INC., as tenant and owner of the business is jointly and severally liable for all the

  violations listed in Count I of this Complaint.

         24.       Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and businesses located within the Commercial Property, but not

  necessarily limited to the allegations in Count I of this Complaint. Plaintiff has reasonable

  grounds to believe that he will continue to be subjected to discrimination at the Commercial

  Property, and businesses within the Commercial Property, in violation of the ADA. Plaintiff

  desires to visit the Commercial Property and businesses within the Commercial Property, not only

  to avail himself of the goods and services available at the Commercial Property and businesses

  located within the Commercial Property, but to assure himself that the Commercial Property, and

  businesses located within the Commercial Property are in compliance with the ADA, so that he

  and others similarly situated will have full and equal enjoyment of the Commercial Property, and

  businesses located within the Commercial Property without fear of discrimination.

         25.       Defendants have discriminated against the individual Plaintiff by denying him

  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages
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   and/or accommodations of the Commercial Property, and businesses located within the

   Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                   COUNT I – ADA VIOLATIONS

          26.       The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

   through 22 above as though fully set forth herein.

          27.       Defendants, 1540 WEST 84TH STREET LLC, BESTCORP INVESTMENTS,

   L.L.C., and ORLY SERVICES, INC. have discriminated, and continues to discriminate, against

   Plaintiff in violation of the ADA by failing, inter alia, to have accessible facilities by January 26,

   1992 (or January 26, 1993, if a Defendants have 10 or fewer employees and gross receipts of

   $500,000 or less). A list of the violations that Plaintiff encountered during his visit to the

   Commercial Property, include but are not limited to, the following:

   Common Areas

          A. Parking

 i.   The Plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

      located on an excessive slope. Violation: There are accessible parking spaces located on an

      excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

      Standards, whose resolution is readily achievable.

ii.   The Plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

      aisles are located on an excessive slope. Violation: There are accessible parking space access

      aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

      of the 2010 ADA Standards, whose resolution is readily achievable.

          B. Entrance Access and Path of Travel
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  i.   The Plaintiff had difficulty entering store without assistance, as the door hardware requires

       tight grasping and twisting of the wrist to operate. Violation: The store door has non-compliant

       hardware for disabled patrons, violating Section 4.13.9 of the ADAAG and Sections 309.4 and

       404.2.7 of the 2010 ADA Standards, whose resolution is readily achievable.

ii.    The Plaintiff had difficulty exiting the store without assistance, as the required maneuvering

       clearance is not provided. Violation: The store entrance door does not provide the required

       latch side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of the 2010

       ADA Standards, whose resolution is readily achievable.

          C. Public Restrooms

  i.   The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

       wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

       4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

       readily achievable.

ii.    The Plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

       provided in the restrooms are in violation of the requirements in Section 4.19.6 of the ADAAG

       and Section 603.3 of the 2010 ADA Standards, whose resolution is readily achievable.

iii.   The Plaintiff could not use the bar of soap without assistance, as it requires a tight grasp to

       operate. Violation: The soap requires a tight grasp to operate in violation of Section 4.27.4 of

       the ADAAG and Section 309.4 of the 2010 ADA Standards, whose resolution is readily

       achievable.

iv.    The Plaintiff could not transfer to the toilet without assistance, as objects are mounted less than

       12” above a grab bar obstructing its use. Violation: The grab bars do not comply with the
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      requirements prescribed in Sections 4.16.4 & 4.26 of the ADAAG and Section 609.3 of the

      2010 ADA Standards, whose resolution is readily achievable.

 v.   The Plaintiff could not transfer to the toilet without assistance, as the rear grab bar is not

      mounted at the required height. Violation: The grab bars do not comply with the requirements

      prescribed in Section 4.16.4 & Figure 29 of the ADAAG and Section 609.4 of the 2010 ADA

      Standards, whose resolution is readily achievable.

                                 RELIEF SOUGHT AND THE BASIS

          28.      The discriminatory violations described in Count I are not an exclusive list of the

   Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places of public

   accommodation in order to photograph and measure all of the discriminatory acts violating the

   ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further requests

   to inspect any and all barriers to access that were concealed by virtue of the barriers' presence,

   which prevented Plaintiff, CARLOS BRITO, from further ingress, use, and equal enjoyment of

   the Commercial Business and businesses located within the Commercial Property; Plaintiff

   requests to be physically present at such inspection in conjunction with Rule 34 and timely notice.

   A complete list of the Subject Premises’ ADA violations, and the remedial measures necessary to

   remove same, will require an on-site inspection by Plaintiff’s representatives pursuant to Federal

   Rule of Civil Procedure 34.

          29.      The individual Plaintiff, and all other individuals similarly situated, have been

   denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

   privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

   businesses and facilities; and has otherwise been discriminated against and damaged by the
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   Defendants because of the Defendants’ ADA violations as set forth above. The individual

   Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

   damage without the immediate relief provided by the ADA as requested herein. In order to remedy

   this discriminatory situation, the Plaintiff requires an inspection of the Defendants’ place of public

   accommodation in order to determine all of the areas of non-compliance with the Americans with

   Disabilities Act.

          30.          Defendants have discriminated against the individual Plaintiff by denying him

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of its place of public accommodation or commercial facility, in violation of 42

   U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendants continue to

   discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to afford

   all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

   disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

   with a disability is excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services.

          31.          Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has

   a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

   all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is

   entitled to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42

   U.S.C. § 12205 and 28 CFR 36.505.

          32.          A Defendant is required to remove the existing architectural barriers to the
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   physically disabled when such removal is readily achievable for their place of public

   accommodation, the Plaintiff and all others similarly situated, will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as requested

   herein. In order to remedy this discriminatory situation, the Plaintiff requires an inspection of the

   Defendants’ place of public accommodation in order to determine all of the areas of non-

   compliance with the Americans with Disabilities Act.

          33.        Notice to Defendants is not required as a result of the Defendants’ failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendants have 10 or fewer

   employees and gross receipts of $500,000 or less). All other conditions precedent have been met

   by Plaintiff or waived by the Defendant.

          34.        Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

   Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate the

   businesses, located at and/or within the commercial property located at 6495 W 4th Ave, Hialeah,

   Florida, the exterior areas, and the common exterior areas of the Commercial Property and

   businesses located within the Commercial Property, to make those facilities readily accessible and

   useable to the Plaintiff and all other mobility-impaired persons; or by closing the facility until such

   time as the Defendants cure the violations of the ADA.

          WHEREFORE, the Plaintiff, CARLOS BRITO, respectfully requests that this Honorable

   Court issue (i) a Declaratory Judgment determining Defendants at the commencement of the

   subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act, 42

   U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

   readily achievable alterations to the facilities; or to make such facilities readily accessible to and
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   usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

   to make reasonable modifications in policies, practices or procedures, when such modifications

   are necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; and by failing to take such steps that may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

   12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

   Title III of the Americans with Disabilities Act.


   Dated: September 30, 2019
                                                 GARCIA-MENOCAL & PEREZ, P.L.

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                                                 By: ___/s/_Anthony J. Perez________
                                                        ANTHONY J. PEREZ
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